              Case 1:07-cr-00179-AWI Document 65 Filed 12/04/14 Page 1 of 2

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   United States of America
 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                         CASE NO. 1:07-CR-00179 AWI
11
                                 Plaintiff,            MOTION TO DISMISS CHARGE TWO OF
12                                                     PETITION FOR WARRANT FOR OFFENDER
                           v.                          UNDER SUPERVISION AND PROPOSED ORDER
13                                                     OF DISMISSAL
     JOSE CONTRERAS MARIN,
14
                                 Defendants.
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17          The United States of America, by and through Benjamin B. Wagner, United States Attorney, and

18 Kevin P. Rooney, Assistant U.S. Attorney, pursuant to Rule 48(a) of the Federal Rules of Criminal

19 Procedure, hereby moves, in the interest of justice, to dismiss Charge Two of the Petition For Warrant

20 For Offender Under Supervision.

21 Dated: December 4, 2014                                 BENJAMIN B. WAGNER
                                                           United States Attorney
22

23                                                 By: /s/ Kevin P. Rooney
                                                       KEVIN P. ROONEY
24                                                     Assistant United States Attorney

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      MOTION TO DISMISS INDICTMENT AND                 1
      ORDER OF DISMISSAL
              Case 1:07-cr-00179-AWI Document 65 Filed 12/04/14 Page 2 of 2

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 8                              IN THE UNITED STATES DISTRICT COURT

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10
     UNITED STATES OF AMERICA,                        CASE NO. 1:07-CR-00179 AWI
11
                                 Plaintiff,
12
                           v.                         ORDER OF DISMISSAL
13
     JOSE CONTRERAS MARIN,
14
                                Defendants.
15

16

17         IT IS HEREBY ORDERED in the interest of justice, and based upon Government’s Motion to

18 Dismiss, that Charge Two of the Petition For Warrant for Offender Under Supervision in this case be

19 dismissed as to Defendant, Jose Contreras Marin.

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21 IT IS SO ORDERED.

22 Dated: December 4, 2014
                                              SENIOR DISTRICT JUDGE
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      MOTION TO DISMISS INDICTMENT AND                2
      ORDER OF DISMISSAL
